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                              IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF UTAH


     SECURITIES AND EXCHANGE
     COMMISSION,

                Plaintiff,

     v.
                                                      ORDER GRANTING FIRST INTERIM
     THE ESTATE OF STEPHEN ROMNEY
                                                            FEE APPLICATION
     SWENSEN, and CREW CAPITAL GROUP,
     LLC, a Nevada limited liability company,
                                                          Case No. 1:22-cv-00135-RJS-DBP
                Defendants,
                                                         Chief District Judge Robert J. Shelby
     WENDY SWENSEN, an individual, SARIA
     C. RODRIGUEZ, an individual, WS                    Chief Magistrate Judge Dustin B. Pead
     FAMILY IP, LLC, a Utah limited liability
     company, WINGMAN, LLC, a Utah limited
     liability company, and SWENSEN
     CAPITAL, LLC, a Utah limited liability
     company,

                Relief Defendants.

            Now before the court is Receiver Chad S. Pehrson’s First Interim Fee Application.1 The

 Fee Application seeks the court’s approval for expenses incurred by Receiver’s counsel, Kunzler

 Bean & Adamson (KB&A), and the Receiver’s experts at Sage Forensic Accounting, from the

 appointment of the Receiver through December 31, 2023. Receiver requests authorization to pay

 all allowed fees and expenses from funds of the Receivership Estate. Based on the Fee

 Application and accompanying exhibits, and for good cause shown, the Fee Application is




 1
     Dkt. 87.
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 GRANTED.2 Receiver is authorized to pay from the Receivership Estate the following fees and

 expenses incurred:

                 Payment to KB&A in the amount of $59,817.60 for fees and $603.92 for out-of-

                  pocket expenses.

                 Payment to Sage Forensic Accounting in the amount of $1,599.79 for fees.

           SO ORDERED this 16th day of July 2024.

                                              BY THE COURT:


                                              ________________________________________
                                              ROBERT J. SHELBY
                                              United States Chief District Judge




 2
     Id.


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